
USCA1 Opinion

	










                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit
                                _____________________

          No. 94-2302

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                  HOWARD T. WINTER,

                                Defendant, Appellant.

                                _____________________


                   ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                      [Hon. Patti B. Saris, U.S. District Judge]
                                            ___________________

                                _____________________


                                        Before

                                Stahl, Circuit Judge,
                                       _____________
                           Campbell, Senior Circuit Judge, 
                                     ____________________
                              and Lynch, Circuit Judge.
                                         _____________

                                _____________________


               Thornton E. Lallier for appellant.
               ___________________
               George W. Vien, Assistant  United States Attorney, with whom
               ______________
          Geoffrey E. Hobart, Assistant  United States Attorney, and Donald
          __________________                                         ______
          K.  Stern, United States Attorney,  were on brief  for the United
          _________
          States.

                                _____________________

                                  November 22, 1995
                                _____________________























                      STAHL, Circuit Judge.   Appellant Howard T.  Winter
                      STAHL, Circuit Judge.
                             _____________

            refused to  testify in a former  codefendant's criminal trial

            despite  a grant  of immunity.   The  United States  District

            Court for  the District  of Massachusetts adjudged  Winter in

            criminal  contempt under Fed. R. Crim. P. 42(a) and imposed a

            six-month  sentence consecutive  to  one under  which he  was

            already  incarcerated.   In  this  appeal, Winter  challenges

            certain aspects  of the summary contempt  proceedings and the

            resulting sentence.  We affirm.

                                          I.
                                          I.
                                          __

                       Factual Background and Prior Proceedings
                       Factual Background and Prior Proceedings
                       ________________________________________

                      In January 1992, a  grand jury returned a multiple-

            count indictment against Winter and two codefendants, Gennaro

            Farina and Kenneth Schiavo.   In May 1993, Winter  and Farina

            each pleaded guilty to the indictment, received the mandatory

            minimum   sentence  of  ten   years  imprisonment,  and  were

            accordingly incarcerated.   In September  1994, after  futile

            efforts to  interview  Winter,  the  government  obtained  an

            immunity  order  pursuant to  18 U.S.C.     6002 and  6003 to

            compel his testimony in the criminal trial against his former

            codefendant, Schiavo.

                      Schiavo's trial began on November 14, 1994.  During

            the  following two  days, on  November 15  and 16,  1994, the

            district  court  held  a  contempt  hearing  because   Winter

            indicated  that  he  would  refuse  to  testify  despite  the



                                         -2-
                                          2















            immunity  order.   At  the  hearing, Winter  stated  that his

            refusal  to testify was based upon the Fifth Amendment of the

            United States  Constitution and  "other reasons."   After the

            court  explained  to Winter  that,  because  of the  immunity

            order, the Fifth Amendment was not a valid basis to refuse to

            testify, Winter proffered his non-Fifth-Amendment reasons for

            his refusal, to wit:  (1) that his previous counsel  told him

            that his guilty plea would not in any way affect Schiavo, and

            that,  if  Winter had  known he  might  be forced  to testify

            against  Schiavo, he would not have so pled; and, (2) because

            he had consistently maintained to the government his resolute

            unwillingness to  testify against Schiavo, the government was

            being  "vindictive"   by  forcing   him  to   choose  between

            testifying  or suffering  a contempt  judgment.   Winter also

            implied that he feared  for his own safety should  he testify

            against Schiavo.1

                      During  the second  day  of the  contempt  hearing,

            Richard Egbert,  Winter's  counsel  during  his  guilty  plea

            proceedings, testified  as to  Winter's understanding that  a

            guilty  plea would  not have  an  adverse effect  on Schiavo.

            Egbert  further  stated that  he  told  Winter that,  in  his

                                
            ____________________

            1.  Winter's  only  statement suggesting  this  fear was  the
            following:   "When [the government] sent me to Louisburg, . .
            . they  leaked the rumor out that I had rolled over, with one
            intention, to try and get me killed when I was  doing my time
            down there."   At the  time Winter made  this statement,  the
            court was  in the process of  explaining immunity protections
            and did not pursue his apparent claim of fear.

                                         -3-
                                          3















            opinion,  it was  unlikely  the government  would attempt  to

            force  Winter  to  testify  against  Schiavo.    Egbert  also

            testified that Winter entered his  guilty plea without a plea

            agreement or any other agreement with the government.

                      The district  court  found that,  despite  Winter's

            claimed misunderstanding of what could happen, the government

            never promised that  it would  not immunize and  call him  to

            testify against Schiavo, nor  did Egbert tell him that.   The

            court found that the  government's conduct leading up to  and

            including its  efforts to  secure Winter's testimony  did not

            violate due process.   The court further found  that Winter's

            testimony would be probative  of material issues in Schiavo's

            trial, and because of an earlier suppression ruling, was  not

            cumulative to other evidence.

                      Throughout the contempt  proceedings, the  district

            court made clear that it was operating under Fed. R. Crim. P.

            42(a)2  which provides  for  summary disposition  of criminal

            contempt.   The  court  did state,  however,  that it  "would

                                
            ____________________

            2.  Rule 42(a), pertaining to summary disposition of criminal
            contempt, provides:

                      A  criminal  contempt  may   be  punished
                      summarily if the judge certifies that the
                      judge   saw   or   heard    the   conduct
                      constituting the contempt and that it was
                      committed in  the actual presence  of the
                      court.    The  order  of  contempt  shall
                      recite  the facts and  shall be signed by
                      the judge and entered of record.

            Fed. R. Crim. P. 42(a).

                                         -4-
                                          4















            consider reducing the  contempt or  eliminating it  entirely,

            should  [Winter]   decide  to  testify."     In  making  this

            statement, the  court expressly relied upon  United States v.
                                                         _____________

            Wilson, 421 U.S. 309, 312 (1975).  The court repeated several
            ______

            times  its offer to purge Winter of contempt and any sentence

            imposed because of  it if  he decided to  testify before  the

            close of the government's  case in the Schiavo trial.   After

            Winter refused to obey its direct order to testify, the court

            held  him in  contempt  and summarily  sentenced  him to  six

            months imprisonment.

                      After hearing  argument  by counsel,  the  district

            court  decided during  the  contempt  hearing  that  Winter's

            sentence  would  run  consecutively  to  his  prior  sentence

            because imposition  of a concurrent term  would "provide[] no

            incentive whatsoever"  for him to  testify.   In making  this

            determination,  the court stated, "my  goal is not to punish,

            my  goal  is to  get testimony  which is  relevant."   At the

            request  of Winter's  counsel,  after the  imposition of  the

            contempt sentence,  the court deferred entry  of the judgment

            to  the close  of the  Schiavo  trial, explaining,  "my hope,

            although  I think it's elusive  at this point,  is still that

            [Winter] will testify."   The  court left the  door open  for

            Winter to  justify at some  later time, through  his counsel,







                                         -5-
                                          5















            his  recalcitrance.3     Despite  this  opportunity,   Winter

            proffered nothing more to explain his refusal to testify.

                      Winter  never  testified   in  the  Schiavo  trial;

            nonetheless,  on December  1,  1994, the  jury found  Schiavo

            guilty  on some  but  not  all  counts  against  him  in  the

            superseding indictment.   On December 12,  1994, the district

            court  issued a  written order  and entered  judgment against

            Winter for criminal contempt.  Accordingly, Winter received a

            six-month prison  sentence to be served  consecutively to his

            prior sentence.  This appeal followed.

                                         II.
                                         II.
                                         ___

                                      Discussion
                                      Discussion
                                      __________

                      On appeal,  Winter raises a number  of arguments to

            challenge his  contempt conviction.  First,  he reasserts his

            non-Fifth-Amendment grounds for refusing to testify.  Second,

            he argues that the  court's contempt sanction was of  a civil

            rather than criminal nature and should have been vacated upon

            completion of  Schiavo's trial.  Third,  Winter contends that

            the district court  failed to  afford him  an opportunity  to

            document his  fear of  testifying against Schiavo.   Finally,

            Winter  argues  that  imposition  of  the  contempt  sentence



                                
            ____________________

            3.  Specifically, the  court stated  to Winter's counsel:  "I
            know this has all come up very suddenly  for you, Mr. Cullen.
            If there  is something that you  haven't told me about  . . .
            which you think would be relevant, I will listen to it at the
            time you find out about it."

                                         -6-
                                          6















            violated  the Double  Jeopardy  Clause of  the United  States

            Constitution.

            A.  Standard of Review -- Plain Error
            _____________________________________

                      Winter  failed to raise these arguments, except for

            the first,  before the district  court.  Thus,  the arguments

            raised  for  the  first  time  on  appeal  are forfeited  and

            reversible only if Winter  establishes "plain error."  United
                                                                   ______

            States  v.  Alzanki,  54  F.3d  994,  1003 (1st  Cir.  1995),
            ______      _______

            petition  for cert.  filed, 64  U.S.L.W. 3298 (U.S.  Oct. 16,
            ________  ___ _____  _____

            1995) (No. 95-619);  United States  v. Taylor,  54 F.3d  967,
                                 _____________     ______

            972-73  (1st Cir. 1995).   Under this  standard, an appellant

            bears  the  burden  of  establishing: (1)  "error,"  i.e.,  a
                                                                 ____

            "[d]eviation  from a  legal  rule";  (2)  that the  error  is

            "plain" or "obvious";  and (3) that the  plain error affected

            "substantial rights."   United States  v. Olano,  113 S.  Ct.
                                    _____________     _____

            1770, 1777-78 (1993); see Fed. R. Crim. P. 52(b).  Even if an
                                  ___

            appellant  establishes  plain  error   affecting  substantial

            rights, the  decision to correct  that error lies  within the

            sound  discretion of this court.  Olano,  113 S. Ct. at 1776,
                                              _____

            1778;  see United  States v.  Marder, 48  F.3d 564,  571 (1st
                   ___ ______________     ______

            Cir.), cert. denied, 115 S. Ct. 1441 (1995).
                   _____ ______

            B.    The  Government's  Conduct  and  the  Propriety  of the
            _____________________________________________________________

            Immunity Order
            ______________

                      Winter reasserts on appeal his claim that,  because

            government  agents always  knew he  would refuse  to testify,



                                         -7-
                                          7















            they  sought  his  immunity  for the  vindictive  purpose  of

            "setting him  up"  to commit  perjury  or contempt.    Winter

            further contends that because  he had already pleaded guilty,

            there was no  criminal liability left  for the government  to

            immunize him from; and because the immunity conferred no real

            benefit upon him, it  was an "illusory" grant that  could not

            form the basis of a contempt finding.

                      We review the district court's contempt finding for

            abuse of discretion.  In re Grand Jury Proceedings (Doe), 943
                                  __________________________________

            F.2d  132, 136  (1st  Cir. 1991)  (per  curiam).   We  review
                                               ___  ______

            factual findings  in contempt  proceedings  for clear  error.

            Project  B.A.S.I.C. v. Kemp, 947 F.2d 11, 15 (1st Cir. 1991).
            ___________________    ____

            To the extent Winter's arguments raise pure questions of law,

            our review is plenary.

                      First, we note that the record reveals the district

            court's utmost solicitude in  addressing these concerns.  The

            court held the contempt hearing in part to determine if there

            was any  overreaching conduct by the  government in obtaining

            the immunity order or  in negotiating Winter's earlier guilty

            plea.   Despite a  full exploration of  Winter's contentions,

            which included  calling Winter's  former counsel  to testify,

            the court found no evidence of misconduct.  Rather, the court

            found  that the  government  had legitimate  reasons to  seek

            Winter's highly  relevant testimony because  the evidence  in

            the Schiavo trial  contained repeated references  to Winter's



                                         -8-
                                          8















            participation in  criminal activities with Schiavo.   We find

            no error in the  court's finding that the government  did not

            act out of  vindictiveness in seeking the  immunity order and

            Winter's  testimony.  Cf. In  re Poutre, 602  F.2d 1004, 1006
                                  ___ _____________

            (1st. Cir.  1979) (noting the impermissibility  of "calling a

            witness  for  the sole  purpose  of  extracting perjury"  but

            finding no evidence of such government misconduct). 

                      Next,  we  note  the  tortured  logic  of  Winter's

            argument that his recalcitrance  was justified because he had

            no criminal liability to  barter for the immunity.   Winter's

            argument  suggests  that he  had a  right  to keep  silent --

            despite the  absence of Fifth-Amendment privilege concerns --

            simply  because  he  had nothing  to  gain  by  the grant  of

            immunity.   This  contention, however,  cannot be  reconciled

            with the  duty of  every  citizen to  testify in  aid of  law

            enforcement.  Piemonte  v. United States,  367 U.S. 556,  559
                          ________     _____________

            n.2 (1961); see also Kastigar v. United States, 406 U.S. 441,
                        ___ ____ ________    _____________

            443-44 (1972).   "If two  persons witness an  offense --  one

            being an innocent bystander  and the other an  accomplice who

            is thereafter imprisoned for  his participation -- the latter

            has no more right to keep silent than the former."  Piemonte,
                                                                ________

            367  U.S. at  559 n.2  (dicta).   Thus, even  assuming --  as

            Winter contends  -- that his  guilty plea dispensed  with the

            need for an immunity order, we  fail to see how he was harmed

            by the  immunity's added  protection when he  otherwise would



                                         -9-
                                          9















            have  a duty to testify.  Winter apparently believed that his

            earlier guilty plea would relieve him of all obligations with

            respect to his activity with  Schiavo.  That mistaken belief,

            however, is  not a basis upon which  to excuse his refusal to

            testify.











































                                         -10-
                                          10















            C.  The Nature of the Contempt Sanction
            _______________________________________

                      Winter argues  that his contempt sanction  was of a

            civil rather than criminal  nature because the district court

            expressed a  goal to compel testimony rather  than to punish,

            and  repeated  its offer  to  purge  Winter of  the  contempt

            sentence should  he testify.   Winter contends  that, because

            the judgment  was effectively  for civil contempt,  it should

            have been vacated once its  coercive effect ceased, i.e.,  at
                                                                ____

            the  end of Schiavo's  trial when  he was  no longer  able to

            comply with the order.

                      The  determination of  whether a contempt  order is

            civil  or  criminal is  a question  of  law and  the district

            court's characterization of the  sanction is not binding upon

            this court.   See Hicks  ex rel.  Feiock v. Feiock,  485 U.S.
                          ___ ______________________    ______

            624,  630  (1988).    Winter, however,  neither  raised  this

            argument  in the district court,  nor moved in district court

            to vacate  his  contempt sentence  on  this basis.    Because

            Winter did  not afford the  district court an  opportunity to

            address this issue,  he has forfeited  his right to  complain

            here  on this basis.   See United  States v.  Taylor, 54 F.3d
                                   ___ ______________     ______

            967,  971   (1st  Cir.  1995)  (noting   that  policy  behind

            forfeiture rule is to allow trial court to timely correct the

            problem, and  to prevent  "sandbagging").   In light  of this

            forfeiture, we  review the proceedings for  plain error under

            the principles set forth in Section II. A., above.  Cf. In re
                                                                ___ _____



                                         -11-
                                          11















            Grand Jury Proceedings,  875 F.2d  927, 932  (1st Cir.  1989)
            ______________________

            (reviewing for plain error due process objections to criminal

            contempt proceedings  that were not raised  in trial court).4

            To  address  Winter's contention,  we  discuss the  pertinent

            caselaw, below.

                      The distinction between civil and criminal contempt

            is  important because  each  requires  different  procedures.

            Generally,  a  court  may  impose  civil  contempt  sanctions

            pursuant  to   the  minimal  procedures  of   notice  and  an

            opportunity  to be  heard; the  reason for  this is  that the

            civil contemnor may avoid the sanction by obeying the court's


                                
            ____________________

            4.  We  note that  Winter's counsel  at the  contempt hearing
            implicitly  conceded  the  appropriateness  of  the  criminal
            nature   of  the   proceedings  when   arguing  against   the
            consecutive    imposition    of   the    contempt   sentence.
            Specifically, counsel requested: 

                      I prefer  that . . .  [Winter] be ordered
                      to  start  serving  [the]   sentence  for
                      contempt immediately.  . . .  That's what
                      would  happen on  civil contempt.  . .  .
                      That is, if he was held in civil contempt
                      and refused  to testify, it would  not be
                      counted  toward his time  on his sentence
                      [for Bureau of Prisons purposes].  

            Viewing these statements in  light of the record as  a whole,
            however,  we  do  not find  that  they  amount  to an  actual
            "waiver"  of  Winter's  right  to  argue  that  his  contempt
            sanction   was  civil.    See  Olano,  113  S.  Ct.  at  1777
                                      ___  _____
            (explaining  that actual waiver, as distinct from forfeiture,
            extinguishes  any "error"  under Rule  52(b) such  that plain
            error review  is inapplicable); cf. United  States v. Rivera,
                                            ___ ______________    ______
            872  F.2d  507,  509 (1st  Cir.)  (finding  plain error  rule
            applicable  where  evidence  was  insufficient  to  establish
            defendant's waiver of double jeopardy defense), cert. denied,
                                                            _____ ______
            493 U.S. 818 (1989).

                                         -12-
                                          12















            order.   International Union, United Mine  Workers of America
                     ____________________________________________________

            (UMWA)  v. Bagwell,  114  S.  Ct.  2552,  2557  (1994).    In
            ______     _______

            contrast,  "`criminal contempt  is  a crime  in the  ordinary

            sense,'"  id. at  2556 (quoting Bloom  v. Illinois,  391 U.S.
                      ___                   _____     ________

            194,  201 (1968)),  and  criminal contempt  sanctions may  be

            imposed  only if  the court  provides certain  constitutional

            protections.    Id. at  2556-57;  Hicks,  485  U.S.  at  632.
                            ___               _____

            However,  "direct  contempts," i.e.,  those occurring  in the
                                           ____

            court's presence, "may be immediately adjudged and sanctioned

            summarily."  International  Union, UMWA, 114  S. Ct. at  2557
                         __________________________

            n.2.    In such  cases,  the  distinction  between civil  and

            criminal contempt for the purposes of required procedures, in

            general,  is not  germane.    Id.  (citing United  States  v.
                                          ___          ______________

            Wilson, 421 U.S. 309,  316 (1975));5 see Wilson, 421  U.S. at
            ______                               ___ ______

            315-19  (upholding  summary  criminal  contempt  adjudication

            where immediate response to  direct contempt was necessary to

            "prevent  a breakdown  of  the proceedings").   As  explained

            below,  Winter's  contumacious  conduct   constituted  direct

            contempt.

                      Winter cites Shillitani v.  United States, 384 U.S.
                                   __________     _____________

            364  (1966), to support his  argument that the  nature of his

            contempt  sanction  was  civil   instead  of  criminal.    In

                                
            ____________________

            5.  The   civil/criminal   contempt  distinction   in  direct
            contempt cases  becomes relevant if the  criminal contempt is
            "serious"   and   adjudication   requires   a   jury   trial.
            International Union,  UMWA, 114  S. Ct. at  2557 n.2  (citing
            __________________________
            Bloom v. Illinois, 391 U.S. 194, 209-210 (1968)).
            _____    ________

                                         -13-
                                          13















            Shillitani, the trial court ordered the contemnors imprisoned
            __________

            for  two years or until  they testified before  a grand jury.

            Id. at 366-68.  The trial  court had stated that the sentence
            ___

            was not intended to punish, but to secure testimony.   Id. at
                                                                   ___

            368.  Under  the conditional nature of  the imprisonment, the

            contemnors had  an unqualified right  to be released  if they

            chose to  testify; because the contemnors  were not otherwise

            incarcerated,  they  literally  "carried  the keys  of  their

            prison in their own  pockets."  Id. (internal quotations  and
                                            ___

            citations omitted).   Although  the parties and  courts below

            had  referred to the  contempt as criminal  instead of civil,

            the  Supreme Court  declared that  the label  affixed to  the

            proceeding was not  determinative.  Id.   Instead, the  Court
                                                ___

            looked to the character and purpose of the sentence and found

            that it  was "clearly intended  to operate  in a  prospective

            manner -- to coerce rather than  to punish."  Id. at  369-70.
                                                          ___

            The Court concluded that the  obviously coercive goal of  the

            imprisonment rendered the contempt proceeding civil, and thus

            the  contemnors  had to  be released  when the  rationale for

            their imprisonment  vanished, i.e.,  when the grand  jury was
                                          ____

            discharged.  Id. at  371-72; see also Hicks, 485  U.S. at 638
                         ___             ________ _____

            n.9.

                      In Hicks, the Supreme Court reaffirmed Shillitani's
                         _____                               __________

            teaching that the "civil" or "criminal" label attached either

            to the contempt  proceeding or to the corresponding relief is



                                         -14-
                                          14















            not  controlling.   Hicks,  485 U.S.  at 631.   In  Hicks, an
                                _____                           _____

            indirect contempt  case,  a state  judge  found a  parent  in

            contempt for  failure to  comply with a  child-support order.

            Id. at 626-27.  The main issue in Hicks was whether the state
            ___                               _____

            contempt proceeding was civil or criminal for the purposes of

            determining  the  applicability  of   federal  constitutional

            protections.  Id.  at 630.  To guide  in this analysis, Hicks
                          ___                                       _____

            instructed that  "the critical features are  the substance of

            the  proceeding and  the  character of  the  relief that  the

            proceeding will afford."   Id.  Imprisonment for  contempt is
                                       ___

            for  a  remedial  purpose,  and  thus  civil,  if  the  court

            conditions the contemnor's release  upon compliance with  its

            order.    Id.  at 631-32,  634.    Such  imprisonment is  for
                      ___

            punitive purposes  (to vindicate the court's  authority), and

            hence  criminal,  if  the  court   imposes  an  unconditional

            determinate sentence "retrospectively for a `completed act of

            disobedience.'"   International  Union, UMWA,  114 S.  Ct. at
                              __________________________

            2558  (quoting Gompers v. Bucks  Stove &amp; Range  Co., 221 U.S.
                           _______    _________________________

            418, 443 (1911));6 Hicks, 485 U.S. at 631-33.
                               _____

                      Hicks  further explains that  the classification of
                      _____

            contempt  proceedings as  civil  or criminal  does not  "turn

            simply  on what  their underlying  purposes are  perceived to


                                
            ____________________

            6.  International  Union,  UMWA,  114  S.  Ct.   at  2555-57,
                ___________________________
            involving the civil/criminal classification of contempt fines
            against  a union for a labor injunction violation, is also an
            indirect contempt case.

                                         -15-
                                          15















            be," because,  "[i]n contempt cases, both  civil and criminal

            relief  have aspects that can  be seen as  either remedial or

            punitive or both."  Id. at 635; see also International Union,
                                ___         ___ ____ ____________________

            UMWA,  114 S.  Ct. at  2557 (recognizing  contempt sentences'
            ____

            dual purpose of punishment and coercion).  In order to draw a

            conclusion about whether a contempt proceeding is criminal or

            civil,  a court  must examine  "the character  of  the relief

            itself,"  id.  at  636,  and  "[t]he  critical  feature  that
                      ___

            determines whether  the remedy is civil or criminal in nature

            is . . . whether the contemnor can avoid the sentence imposed

            on him, or  purge himself of it, by complying  with the terms

            of the original  order."  Id. at 635 n.7; see also id. at 640
                                      ___             ___ ____ ___

            ("If  the  relief  imposed  here  is  in  fact  a determinate

            sentence  with a purge clause,  then it is  civil in nature."

            (citing Shillitani, 384 U.S. at 370 n.6)).  
                    __________

                      In  adjudicating  Winter's  contempt, the  district

            court  relied heavily, if  not solely, upon  United States v.
                                                         _____________

            Wilson,  421 U.S. 309 (1975).   In Wilson,  the Supreme Court
            ______                             ______

            considered  a case  almost factually  identical  to Winter's.

            Defendants  who  were  already  incarcerated  on  guilty-plea

            convictions received  immunity but  refused to testify  in an

            ongoing criminal trial against a former codefendant.  Id.  at
                                                                  ___

            312.  After conducting summary criminal  contempt proceedings

            pursuant to Fed. R.  Crim. P. 42(a), the court  sentenced the

            defendants to six  months imprisonment, consecutive  to their



                                         -16-
                                          16















            previously imposed sentences.  Id.  Despite his imposition of
                                           ___

            a  definite imprisonment  term, the  district judge  "made it

            clear that he would consider reducing the contempt sentences,

            or eliminating them  completely, if [the  defendants] decided

            to testify."  Id.
                          ___

                      Wilson did  not squarely  involve the issue  of the
                      ______

            distinction between civil and criminal contempt.  Rather, the

            primary issue in Wilson  was whether, under the facts  of the
                             ______

            case,  summary  proceedings  under  Rule  42(a)  were  proper

            instead  of disposition  upon notice  and hearing  under Rule

            42(b).7  See  generally id.  Because summary  adjudication of
                     ___  _________ ___

                                
            ____________________

            7.  In  his reply brief to this court, Winter argues, for the
            very first  time,  that because  his  attorney had  not  been
            provided  with reasonable  time to prepare  a defense  in the
            criminal  contempt proceeding,  the  district court  violated
            Fed. R. Crim.  P. 42(b).   This contention  ignores the  fact
            that  Rule 42(b)'s  notice provision,  which encompasses  the
            "reasonable time"  requirement, does not apply  when a court,
            as here,  proceeds under Rule  42(a).  See  Fed. R.  Crim. P.
                                                   ___
            42(b).
                      Winter also  suggests in  his reply brief,  for the
            first time, that the district court erred in proceeding under
            Rule  42(a)  instead  of Rule  42(b).    Our  review of  this
            argument,  such as it is,  is for plain  error because Winter
            did not first present it to the district court.
                      Winter's    refusal    to    testify    constituted
            contemptuous conduct because,  like the contumacious behavior
            of   the   Wilson   defendants,   it   was  an   "intentional
                       ______
            obstruction[] of court  proceedings that literally  disrupted
            the   progress   of  the   trial   and   hence  the   orderly
            administration  of justice."    Wilson, 421  U.S. at  315-16.
                                            ______
            Unlike  a refusal  to testify before  a grand  jury, Winter's
            refusal  to  testify  in  Schiavo's  ongoing  criminal  trial
            threatened a "breakdown of the proceedings" that required the
            immediate remedial tool of Rule 42(a).  See id. at 319.  This
                                                    ___ ___
            conclusion is bolstered by  the court's specific finding that
            Winter's  testimony  would  be  highly  relevant  to material
            issues in Schiavo's trial.

                                         -17-
                                          17















            indirect  contempt  is impermissible,  Wilson  was  clearly a
                                                   ______

            "direct contempt" case, see International Union, UMWA, 114 S.
                                    ___ _________________________

            Ct. at 2557 n.2,  2560; similarly, it is beyond  dispute that

            Winter's conduct  constituted a  direct  contempt, which  was

            adjudicated as such.  See supra, note 7.
                                  ___ _____

                      The  Wilson Court  upheld  the judge's  use of  the
                           ______

            summary  criminal  contempt  provision.   In  approving  this

            procedure,  the Court  acknowledged the  dual purpose  of the

            contempt sanction:

                      The face-to-face refusal  to comply  with
                      the court's order  itself constituted  an
                      affront  to the court, and when that kind
                      of  refusal  disrupts  and frustrates  an
                      ongoing  proceeding,  as  it   did  here,
                      summary  contempt  must  be available  to
                      vindicate the authority  of the court  as
                                                             __
                      well  as  to  provide   the  recalcitrant
                      _________________________________________
                      witness with some  incentive to  testify.
                      ________________________________________

                                
            ____________________

                      Winter insists that because the government obtained
            a guilty  verdict  on some  of  the counts  against  Schiavo,
            "[t]he  case   never  broke   down,"  and  thus,   Wilson  is
                                                               ______
            inapposite.  This 20/20 hindsight, however, was not available
            at the time  Winter refused  to testify --  in the middle  of
            trial.  See United States v.  North, 621 F.2d 1255, 1262 n.11
                    ___ _____________     _____
            (3d  Cir. 1979)  (en banc)  (noting, for purposes  of seeking
            contemnor's testimony,  that  the  fact  that  defendant  was
            eventually  convicted without  the testimony  is irrelevant),
            cert.  denied, 449 U.S. 866 (1980).  We therefore find, under
            _____  ______
            the facts of  this case -- so strikingly similar  to those in
            Wilson  --  that   the  district  court  did  not  abuse  its
            ______
            discretion  in deciding  to proceed  under Rule  42(a) rather
            than  Rule 42(b)  when faced  with Winter's  direct contempt.
            See Wilson, 421 U.S. at 319 (noting that appellate courts may
            ___ ______
            curb abuses  of discretion  of Rule 42(a)  authority "without
            unduly limiting the power  of the trial judge to  act swiftly
            and  firmly to prevent  contumacious conduct  from disrupting
            the  orderly progress  of  a criminal  trial").   Because the
            court did not  abuse its discretion in proceeding  under Rule
            42(a), there is no reversible error.

                                         -18-
                                          18















                      Whether  such incentive is necessary in a
                      _________________________________________
                      particular  case  is  a matter  the  Rule
                      _________________________________________
                      wisely  leaves to  the discretion  of the
                      _________________________________________
                      trial court.
                      ___________

            Wilson,  421 U.S.  at 316-17  (emphasis added)  (footnote and
            ______

            citation omitted); see also id. at 319 ("In an ongoing trial,
                               ___ ____ ___

            with the  judge, jurors,  counsel and witnesses  all waiting,

            Rule  42(a)   provides  an  appropriate   remedial  tool   to

            discourage  witnesses from  contumacious  refusals to  comply

            with lawful orders  essential to prevent  a breakdown of  the

            proceedings.").     In  the context of  approving the summary

            contempt  procedures and  other  contexts,  the Wilson  Court
                                                            ______

            favorably  noted  "the  careful  trial  judge['s]"  offer  to

            consider  reducing the defendants'  contempt sentences should

            they later  agree to testify.   See id. at 312,  315 n.7, 317
                                            ___ ___

            n.9.   Although  the issue  was not  directly before  it, the

            Wilson Court did not hint that the judge's offer to reduce or
            ______

            eliminate the sentences  automatically converted the sanction

            from  criminal  to  civil.    To  the  contrary,  the   Court

            acknowledged  the need  for  the criminal  rather than  civil

            contempt sanction,  under the facts  of the  case, in  noting

            that   Shillitani's  admonition   to   first   consider   the
                   __________

            feasibility  of coercing testimony through civil contempt has

            little weight  when the contemnor is  already imprisoned; and

            in such  cases, the  threat of incarceration  provides little

            incentive to testify.  Id. at 317 n.9; see also United States
                                   ___             ___ ____ _____________

            v.  McVeigh,  896  F.  Supp. 1549,  1555  (W.D.  Okla.  1995)
                _______


                                         -19-
                                          19















            (proceeding   under   criminal  contempt   provision  because

            defendant's  incarcerated  status  rendered   civil  contempt

            proceedings "futile" (citing, inter alia, Wilson, 421 U.S. at
                                          _____ ____  ______

            317 n.9)). 

                      We  must  now  determine  how  Shillitani/Hicks and
                                                     ________________

            Wilson interact under the facts of the instant case.  Because
            ______

            the  district court promised to  purge Winter of the contempt

            sentence if he should  testify, and because the court  at one

            point expressly stated that its goal was not to punish but to

            obtain relevant  testimony, Shillitani and  Hicks would seem,
                                        __________      _____

            at first glance,  to command a civil characterization  of the

            proceedings.   However,  Shillitani and  Hicks  are factually
                                     __________      _____

            distinct from Wilson and the instant case; that dissimilarity
                          ______

            is dispositive here.  In  Shillitani, the contemnors were not
                                      __________

            already incarcerated when subjected to the contempt sentence,

            and their refusal to  testify was before a grand  jury rather

            than at an ongoing  trial.8  Shillitani, 384 U.S.  at 368-69.
                                         __________

            Hicks was  an indirect contempt case that involved neither an
            _____







                                
            ____________________

            8.  In determining whether or not to follow the procedure  of
            Rule  42(a) or  Rule  42(b), it  is  significant whether  the
            contemnor  is called  to a  grand jury  or an  ongoing trial.
            Because a  grand jury's  schedule is generally  flexible when
            encountered  with a  recalcitrant witness,  any delay  due to
            Rule 42(b)  proceedings is usually less  disruptive than such
            delay during a trial.  Wilson, 421 U.S. 318-19.
                                   ______

                                         -20-
                                          20















            already-incarcerated contemnor nor a  failure to testify at a

            proceeding.9  See Hicks, 485 U.S. at 626-27.
                          ___ _____

                      In contrast, Wilson and this case involved already-
                                   ______

            incarcerated contemnors who refused  to testify at an ongoing

            criminal  trial,  and  whose  direct  contempt  threatened  a

            "breakdown of the proceedings."  Wilson, 421 U.S. at 319.  In
                                             ______

            Wilson, the  Supreme Court  specifically endorsed the  use of
            ______

            criminal  contempt proceedings  in  cases where,  as here,  a

            civil sanction would have  no coercive effect because of  the

            incarcerated status of  the contemnor.   Wilson, 421 U.S.  at
                                                     ______

            317 n.9.  Thus, from the outset of Winter's contempt hearing,

            the district court expressly  relied upon Wilson for guidance
                                                      ______

            in conducting its summary criminal contempt proceedings under

            Fed. R.  Crim. P. 42(a).   The court also stated  that it was

            following  the lead  of  "the  wise  trial judge  .  .  .  in

            [Wilson]"  by  generously offering  to  purge  Winter of  the
             ______

            contempt should he decide  to testify.  In its  written order

            and findings on contempt, the court cited Wilson, 421 U.S. at
                                                      ______

            317 n.9, in acknowledging  that "[a]lthough lesser  sanctions

            should ordinarily be invoked when equal to the task, anything

            less than  criminal contempt would pose  no serious deterrent

            to  an  individual  already  incarcerated."    It  is  clear,

                                
            ____________________

            9.  Similarly,  International  Union,  UMWA,   involving  the
                            ___________________________
            classification of serious contempt  fines for violations of a
            labor  injunction  (indirect   contempt),  is   significantly
            factually  distinct from  this  case.   International  Union,
                                                    _____________________
            UMWA, 114 S. Ct. at 2555-56.
            ____

                                         -21-
                                          21















            therefore,  that   the  district  court  was   aware  of  the

            alternative of civil contempt  proceedings, but felt that the

            coercive  component of  such  proceedings would  be  woefully

            inadequate.

                      Winter would have this  court hold that, even under

            Wilson-like facts,  a court's  promise to purge  triggers the
            ______

            Shillitani/Hicks  contempt-classification  principles,   such
            ________________

            that the  contempt sanction  must be characterized  as civil.

            We decline to do so.   Otherwise, a trial judge faced with an

            incarcerated,  recalcitrant witness  during an  ongoing trial

            would have to  choose between a civil contempt  sanction with

            little  or  no  coercive  value, or  a  determinate  criminal

            sentence with  no possibility of purging  the sentence should

            the contemnor testify.  Under either choice, the judge cannot

            fashion a contempt sanction to provide a meaningful incentive

            to testify.  If we were to hold that an offer to purge, under

            the facts  of this case, automatically  converts the contempt

            sanction from  criminal to civil, we  would effectively strip

            the trial judge of the recognized discretion under Rule 42(a)

            to provide an incentive to testify.  See  Wilson, 421 U.S. at
                                                 ___  ______

            316-17.  It  would be  poor policy to  preclude the  district

            judge  from  exercising   such  discretion  by  imposing   an

            unwavering  rule  that  an  incarcerated  criminal  contemnor

            cannot  be given an opportunity  to comply with  an order and





                                         -22-
                                          22















            purge  the contempt, even if the court wishes to provide such

            opportunity.

                      While  the district  court  may have  indicated its

            preference not to punish  Winter and its fading hope  that he

            would testify, it rejected as ineffective any procedure other

            than summary  criminal contempt  under Rule 42(a).   Winter's

            incarcerated status  and his disruption of  the Schiavo trial

            required  this  procedure  in  order to  both  vindicate  the

            court's authority and provide some incentive to testify.  The

            criminal nature of the contempt sanction is further evidenced

            by  an aspect  of  the relief,  stemming  from a  request  by

            Winter's counsel:  the court's  unusual procedural device  of

            delaying  entry of  the final  contempt judgment  -- although

            sentence  had been  imposed --  until after  Schiavo's trial,

            when there was no longer an opportunity for Winter to comply.

            Thus,  although the  proceeding at  one time  had  a coercive

            component,    the    contempt    judgment,   once    entered,

            retrospectively  punished  Winter for  a  "'completed act  of

            disobedience,'"   which  is  typical  of  criminal  contempt.

            International  Union,  UMWA,  114  S. Ct.  at  2558  (quoting
            ___________________________

            Gompers,  221  U.S. at  443).10   The  deferred entry  of the
            _______

                                
            ____________________

            10.  To the  extent the  contempt sanction lost  all remedial
            purpose  by  the time  the  judgment  issued, the  procedures
            required    for    punitive,    criminal    sanctions    were
            constitutionally  adequate.   See  supra,  note  7; see  also
                                          ___  _____            _________
            United States v. Michaud, 928 F.2d 13, 15 n.1 (1st Cir. 1991)
            _____________    _______
            (noting   both  conditional  and   unconditional  aspects  of
            sentence, but finding that even assuming contempt proceedings

                                         -23-
                                          23















            contempt   judgment   also  furthered   the  twin   goals  of

            vindication and coercion in these contempt proceedings.11

                      The issue of whether the district court's  contempt

            proceedings were  civil or criminal in  nature is complicated

            here because the court so strongly expressed a coercive goal.

            However,  the  particular facts  of  this  case maintain  the

            criminal nature of the contempt sanction, despite the court's

            discretionary choice under Rule 42(a) to provide an incentive

            to testify.  See also United States v.  North, 621 F.2d 1255,
                         ___ ____ _____________     _____

            1263-1265  &amp; n. 16 (3d Cir.) (en banc) (stating in dicta that

            defendant's contempt  sentence,  even if  partly  conditional

            upon compliance,  would retain  its criminal nature  and thus

            continue after  completion of  the underlying  trial (citing,

            inter alia, Wilson, 421 U.S. at 312)), cert. denied, 449 U.S.
            _____ ____  ______                     _____ ______

            866  (1980).   Therefore, we  find no  error --  certainly no

            "plain" error  -- in  the district court's  criminal contempt

            proceeding  and disposition.    Winter's attempt  to use  the

            court's   generous   offer   to   purge   as   a   means   of

            recharacterizing  the contempt  proceedings from  criminal to

            civil  is  unavailing.   We find  it  appropriate to  add the

                                
            ____________________

            were  criminal, defendant  received  the required  procedural
            protections).

            11.  Because the  district court held Winter  in contempt and
            imposed  sentence at  the time  of the  hearing, the  delayed
            judgment  does  not   constitute  an  impermissible   summary
            adjudication  after trial,  when  due  process would  require
            notice  and a hearing.  See International Union, UMWA, 114 S.
                                    ___ _________________________
            Ct. at 2560 (citing Taylor v. Hayes, 418 U.S. 488 (1974)).
                                ______    _____

                                         -24-
                                          24















            Supreme Court's observation  in the factually-similar  Wilson
                                                                   ______

            case:

                      [A]s    this    case   demonstrates,    a
                      contumacious refusal to  answer not  only
                      frustrates  the  [trial] inquiry  but can
                      destroy  a  prosecution.   Here it  was a
                      prosecution;    the    same    kind    of
                      contumacious  conduct  could, in  another
                      setting, destroy a defendant's ability to
                      establish a case.

            Wilson, 421 U.S. at 316.
            ______

            D.  Opportunity to Document Fear
            ________________________________

                      Winter argues  that the  district court  abused its

            discretion in  finding him in  contempt because  he tried  to

            explain to the court his fear for his own safety, but was not

            given an opportunity to document  that fear.  Because  Winter

            raises  this argument for the first time on appeal, we review

            for plain error.

                      We note first that Winter is factually wrong in his

            assertion that he was denied  an opportunity to establish his

            fear.   While it is  true that the  district court apparently

            cut  short any  further testimony  on the  possible claim  of

            fear, the  court did expressly give  Winter, through counsel,

            the opportunity  to  lodge  any new  facts  or  arguments  to

            justify his recalcitrance.  See supra notes 1, 3.  During the
                                        ___ _____

            twenty-six days from the close of the hearing until the entry

            of  judgment,   Winter  did   not  take  advantage   of  this

            opportunity to document  his fear; he cannot now  complain of

            that  failure.  See In  re Grand Jury  Proceedings (Doe), 943
                            ___ ____________________________________


                                         -25-
                                          25















            F.2d at 136 (noting with disapproval a contemnor's failure to

            submit  favorable proffer during  a twenty-four hour extended

            filing period).

                      Moreover, as  Winter admits,  even if he  had fully

            elucidated his  fear of  testifying against Schiavo,  "it has

            been widely  held that a  witness' fear  of reprisal  against

            himself  or his  family does  not constitute  just  cause for

            refusing  to testify."  In re Grand Jury Proceeding (Doe), 13
                                    _________________________________

            F.3d 459, 461 (1st Cir. 1994); see also Piemonte, 367 U.S. at
                                           ___ ____ ________

            559 n.2 (noting  in dicta  that "fear of  reprisal offers  an

            immunized  prisoner no more dispensation from testifying than

            it does any innocent bystander without a record").  Indeed, a

            reticent  witness' fear  for personal  safety is  potentially

            relevant only  in sentence-mitigation.  See  United States v.
                                                    ___  _____________

            Gomez,  553 F.2d 958, 959  (1st Cir. 1977)  (citing Harris v.
            _____                                               ______

            United  States, 382 U.S. 162  (1965)).  Hence, although proof
            ______________

            of  a legitimate fear for his safety would not have justified

            Winter's  refusal to  testify  in any  event,  it might  have

            factored  only   in  mitigation  of  the  six-month  contempt

            sentence  had  he taken  advantage  of  the district  court's

            generous  offer  to  elaborate   upon  the  grounds  for  his











                                         -26-
                                          26















            reticence.12  We discern  no error based on this  argument to

            the proceedings below.

            E.  Double Jeopardy
            ___________________

                      Winter's  final  argument is  that  the prohibition

            against double  jeopardy  invalidates the  contempt  sentence

            both because  of  its  very  imposition and  because  of  its

            consecutive nature.   Again,  our review  is for plain  error

            because Winter  failed  to make  this  argument below.    See
                                                                      ___

            United  States v.  Rivera,  872  F.2d  507,  509  (1st  Cir.)
            ______________     ______

            (reviewing  defendant's  double jeopardy  argument  for plain

            error  because he failed to  raise it in  trial court), cert.
                                                                    _____

            denied, 493 U.S. 818 (1989);  cf. United States v. Papadakis,
            ______                        ___ _____________    _________

            802  F.2d  618,  621  (2d  Cir.  1986)  (declining  to  reach

            appellant's claim, raised for the  first time on appeal, that

            double jeopardy barred  criminal contempt prosecution), cert.
                                                                    _____

            denied, 479 U.S. 1092 (1987).
            ______

                      Winter appears  to concede in his  opening brief to

            this court that the Double Jeopardy Clause generally does not

            bar a contempt conviction for the refusal to answer questions

            related to  a criminal  offense for which  the defendant  has


                                
            ____________________

            12.  At  oral  argument  before this  panel,  the  government
            stated  that Winter  had refused  an offer  to enroll  in the
            federal   witness   protection   program.     Assuming   this
            representation is true, we  note our repeated admonition that
            a witness may not at the same time  refuse to testify because
            of fear  for his  or  her own  safety, and  reject offers  of
            protection  from that potential danger.  See In re Grand Jury
                                                     ___ ________________
            Proceeding (Doe), 13 F.3d at 462-63 (listing cases).
            ________________

                                         -27-
                                          27















            already been convicted.  In his  reply brief, however, Winter

            changes  his tune and  asserts that the  principles of double

            jeopardy  are violated  here  because "the  contempt sentence

            relates to the same or similar activity . . . to which Winter

            had previously pleaded guilty."   Winter additionally  argues

            that imposing the six-month sentence consecutively to, rather

            than  concurrently with,  his ongoing  sentence violates  the

            Double  Jeopardy  Clause because  it "materially  altered the

            terms and conditions of his existing incarceration."  To this

            end, Winter  asserts without elaboration  that the additional

            six-month consecutive sentence disqualifies him  "for certain

            programs and treatments inside the prison."

                      Winter cites United States  v. Bynoe, 562 F.2d 126,
                                   _____________     _____

            128 (1st Cir. 1977),  as support for his contention  that the

            Double   Jeopardy  Clause   bars   the  purported   "material

            alteration" of  his existing  sentence by the  added contempt

            sentence.  In Bynoe, the district court  vacated its previous
                          _____

            order to  suspend the defendant's sentence -- even though the

            defendant had begun to serve probation -- and imposed a "more

            severe" disposition because  of perceived  misrepresentations

            by  the defense.   562  F.2d at  127-28.   We found  that the

            prohibition  against double jeopardy precluded this increased

            punishment for the very same crime.  Id. at 129.  Thus, Bynoe
                                                 ___                _____

            merely  reiterates the  rule  that double  jeopardy bars  "an

            increase  in  sentence  after  the  defendant  has  commenced



                                         -28-
                                          28















            serving  his punishment."  562  F.2d at 128;  see also United
                                                          ___ ____ ______

            States v. Benefield, 942 F.2d 60, 66 (1st Cir. 1991) (holding
            ______    _________

            that  sentencing  court  may  not amend  a  sentence  to  run

            consecutively once defendant began serving it as a concurrent

            sentence) (citing Bynoe and other cases)).
                              _____

                      It is  beyond dispute,  however, that  the district

            court imposed Winter's contempt  sentence for disobedience of

            its direct order -- an offense completely  independent of the

            charges   under   which   he  was   already   incarcerated.13

            Moreover, it was within the court's  discretion to impose the

            sentence  consecutively instead  of concurrently in  order to

            preserve the incentive value of the contempt citation.  In no

            way did the court attempt to alter or increase Winter's prior

            sentence  as  proscribed by  Bynoe  and  Benefield.14   Thus,
                                         _____       _________

            Winter's contention that he is twice punished for  the crimes

            to  which he pleaded guilty  or that the consecutive sentence

            impermissibly   increased   a  prior-imposed   punishment  is

            unavailing.

                                         III.
                                         III.
                                         ____

                                
            ____________________

            13.  Winter  cites no authority,  and we have  found none, in
            support  of  his assertion  that  his  contempt judgment  for
            refusing  to testify  about crimes  to which  he has  already
            pleaded guilty constitutes double jeopardy.

            14.  The purported administrative  changes to  the manner  in
            which Winter's  sentence is served  in prison because  of the
            added sentence are within the Bureau of Prison's domain.  Any
            complaint of constitutional magnitude  that Winter might have
            regarding the Bureau  of Prison's treatment of him  given the
            added sentence is not properly before us in this appeal.

                                         -29-
                                          29















                                      Conclusion
                                      Conclusion
                                      __________

                      For the  foregoing  reasons, the  judgment  of  the

            district court is affirmed.
                              affirmed
                              ________















































                                         -30-
                                          30









